                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                               Plaintiff,

               v.                                             Case No. 06-CR-223

TIMOTHY MILTON, et. al.,

                               Defendants.



                                               ORDER


       On September 11, 2006, Theartis Milton (“Milton”) was charged along with twelve others in

a criminal complaint alleging that they conspired to distribute more than one kilogram of heroin

resulting in death or serious bodily injury, in violation of Title 21, United States Code, Sections

846, 841(a)(1) and 841(b)(1)(A) and Title 18, United States Code, § 2. On September 19, 2006, the

grand jury returned a twenty-two count indictment against twelve defendants, including Milton.

       On October 10, 2006, this court denominated the case as complex and suspended the motion

schedule. On November 21, 2006, the court set a motion schedule and on January 22, 2007, Milton

filed five discovery related motions. The government has not responded to any of these motions. As

provided in Criminal L.R. 16.1(a), the government need not respond to any motion for discovery

that fails to meet the requirements of the local rule.

       The defendant’s motions for disclosure of co-conspirators’ statements and disclosure of

expert witnesses fall under Fed. R. Crim. P. 16. Therefore, Milton was required to comply with the

requirements of the local rule, but Milton has failed to do so. Therefore, this court is unable to

consider the defendant’s motions, and they shall be denied.
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       The defendant also filed a motion for disclosure of Brady material. However, Brady is a

disclosure obligation of the government that exists regardless of a court’s order. See United States

v. Higgins, 75 F. 3d 332, 335 (7th Cir. 1996). Therefore, the defendant’s motion requires no action

by this court and will be denied as moot.

       Milton has also requested that this court order that all Jencks Act material be disclosed not

less than ninety-days before trial in order to facilitate a more orderly trial and eliminate the need to

requests for adjournment during which defense counsel may review materials. In accordance with

its standard procedures, the court has previously ordered that all grand jury materials be disclosed

not less than one business day before the jury trial is scheduled to begin. (Docket No. 34.) Other

witness statements may be available pursuant to open file discovery. Notwithstanding, this has

been denominated as a complex case. (Docket No. 76). Therefore, the court believes that some

additional time to review Jencks Act material, including grand jury materials, is warranted.

Milton’s reasons to support a ninety-days before trial disclosure are too general to be persuasive.

The court will require the government to disclose such materials no later than the final pretrial

conference. Therefore, Milton’s motion shall be granted, but modified.

       Milton has also requested that the court order that all rough or handwritten notes of

investigators and attorneys relating to this case on the basis that such notes may be subject to

disclosure under Brady or otherwise discoverable. This is a reasonable request, and the court has

not been presented with any reason why the defendant’s motion should not be granted. Therefore,

the defendant’s motion shall be granted.

       IT IS THEREFORE ORDERED that Milton’s motion for disclosure of expert witness

testimony (Docket No. 84) and motion for disclosure of co-conspirator’s statements (Docket No.

86) are denied for the defendant’s failure to comply with Criminal L.R. 16.1(a).




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        IT IS FURTHER ORDERED that Milton’s motion for release of Brady materials (Docket

No. 83) is denied as moot.

        IT IS FURTHER ORDERED that Milton’s motion for disclosure of Jencks Act material

ninety-days before trial (Docket No. 85) is granted, but the disclosure shall be made no later than

the date for the final pretrial conference.

        IT IS FURTHER ORDERED that Milton’s motion for the preservation of investigative

officer’s rough notes (Docket No. 87) is granted.

        Dated at Milwaukee, Wisconsin this 19th day of March, 2007.




                                              s/AARON E. GOODSTEIN
                                              U.S. Magistrate Judge




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